Case 2:20-cv-06419-GEKP Document 14 Filed 10/04/21 Page 1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WENDY KEAHEY, :
Plaintiff : CIVIL ACTION
v.
FEDERATED LIFE :
INSURANCE COMPANY, ; No. 20-6419
Defendant :

ORDER
AND NOW, this day of October, 2021, upon consideration of Plaintiff Wendy

Keahey’s Complaint (Doc. No. 1), Defendant Federated’s Motion to Dismiss (Doc. No. 5), the
response and reply thereto (Doc. Nos. 9, 10), and the Court having conducted oral argument on
May 13, 2021, itis ORDERED that the Motion to Dismiss (Doc. No. 5) is GRANTED for the
reasons stated in the accompanying memorandum. Ms, Keahey’s Complaint is dismissed with
prejudice. The Clerk of the Court is directed to mark this case CLOSED for all purposes,
including statistics.

BY THE COURT:

NEB. PRATTER
itéd States District Judge

 

 

 
